                                                                                                                                                                                                         EXHIBIT 1
        1:22-cv-01107-JBM-JEH # 33-1                                                                                                                                            Filed: 08/18/23   Page 1 of 76


                                                             Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                      Page 1
·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE CENTRAL DISTRICT OF ILLINOIS
·2
· · ·CANDACE VAUGHN,· · · · · ·)
·3· · · · · · · · · · · · · · ·)
· · · · · · ·Plaintiff,· · · · )
·4· · · · · · · · · · · · · · ·)
· · ·-vs-· · · · · · · · · · · ) Case No. 22-cv-1107-JBM-JEH
·5· · · · · · · · · · · · · · ·)
· · ·FOX DEVELOPMENTAL CENTER, )
·6· · · · · · · · · · · · · · ·)
· · · · · · ·Defendant.· · · · )
·7

·8

·9

10· · · ·VIDEOCONFERENCE DEPOSITION OF CANDACE VAUGHN

11· · · · · · ·TAKEN ON BEHALF OF THE DEFENDANT

12· · · · · · · · · · · JUNE 15, 2023

13· · · · · ·(Deposition start time, 12:00 p.m.)             888-893-3767
                                                             www.lexitaslegal.com
                                                                                                                     Candace Vaughn




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     www.lexitaslegal.com
                                                                                                                                                                                                         EXHIBIT 1
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                                                             Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                      Page 2
·1· · · · · · · · · · · · I N D E X
·2· ·QUESTIONS BY:· · · · · · · · · · · · · · · · · ·PAGE
·3· ·Mr. Hogue· · · · · · · · · · · · · · · · · · · 5, 59
·4· ·Mr. Taylor· · · · · · · · · · · · · · · · · · · · 55
·5
·6
·7
·8· · · · · · · · · · ·E X H I B I T S
·9
10
11· ·(No exhibits were marked.)
12
13                                                           888-893-3767
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                                                             Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                      Page 3
·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE CENTRAL DISTRICT OF ILLINOIS
·2
· · ·CANDACE VAUGHN,· · · · · ·)
·3· · · · · · · · · · · · · · ·)
· · · · · · ·Plaintiff,· · · · )
·4· · · · · · · · · · · · · · ·)
· · ·-vs-· · · · · · · · · · · ) Case No. 22-cv-1107-JBM-JEH
·5· · · · · · · · · · · · · · ·)
· · ·FOX DEVELOPMENTAL CENTER, )
·6· · · · · · · · · · · · · · ·)
· · · · · · ·Defendant.· · · · )
·7

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11· · · · · ·VIDEOCONFERENCE DEPOSITION OF CANDACE VAUGHN,

12· ·produced, sworn, and examined on June 15, 2023,

13· ·between the hours of 12:00 in the afternoon and 1:46    888-893-3767
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                                                                                                                     Candace Vaughn




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14· ·in the afternoon of that day, with all parties

15· ·appearing remotely, before Suzanne M. Zes, a

16· ·Certified Court Reporter of the State of Missouri,

17· ·in a certain cause now pending before the United

18· ·States District Court for the Central District of

19· ·Illinois, wherein Candace Vaughn is the Plaintiff

20· ·and Fox Developmental Center is the Defendant.

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                                                             Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                      Page 4
·1· · · · · · · · · A P P E A R A N C E S

·2
· · ·For the Plaintiff:
·3
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·7
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·8
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·9· ·Rory Cannon
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· · ·217.524.5091 Fax
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20· ·Reported Remotely By:

21· ·Suzanne Zes, CCR, RPR
· · ·Lexitas Legal
22· ·711 North Eleventh Street
· · ·St. Louis, Missouri 63101
23· ·314.644.2191
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24

25

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                                                                                                                                                                                                       EXHIBIT 1
      1:22-cv-01107-JBM-JEH # 33-1                                                                                                                                            Filed: 08/18/23   Page 5 of 76


                                                           Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                    Page 5
·1· · · · · · · ·IT IS HEREBY STIPULATED AND AGREED by and
·2· ·between counsel for the Plaintiff and counsel for the
·3· ·Defendant, that the deposition of CANDACE VAUGHN may
·4· ·be taken in shorthand by Suzanne Zes, a Certified
·5· ·Court Reporter and Registered Professional Reporter,
·6· ·and afterwards transcribed into printing; and the
·7· ·signature of the witness is expressly waived.
·8· · ·(Whereupon, the deposition began at 12:00 p.m.)
·9· · · · · · · · · · · · * * * * *
10· · · · · · · · · · · CANDACE VAUGHN
11· ·of lawful age, produced, sworn, and examined on
12· ·behalf of the Defendant, deposes and says:
13· · · · · · · · · · · ·EXAMINATION                       888-893-3767
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                                                                                                                   Candace Vaughn




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14· ·QUESTIONS BY MR. HOGUE:
15· · · · · Q.· ·To start with, Ms. Vaughn, my name is
16· ·Robert Hogue.· I'm an assistant attorney general and
17· ·I represent the Defendant Fox Developmental Center
18· ·in this matter.
19· · · · · And so to kind of go back to the audio
20· ·issues, if you can't hear a question or you don't
21· ·understand a question, please ask me to repeat and
22· ·I'd be happy to do so.· And I want you to -- do you
23· ·understand that you are testifying under oath today
24· ·and that you are legally obligated to tell the
25· ·truth?

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                                                           Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                    Page 6
·1· · · · · A.· ·Yes.
·2· · · · · Q.· ·All right.· And so now I'm going to go
·3· ·through several admonishments.· If you don't
·4· ·understand one or, again, can't hear me, please ask
·5· ·me to repeat and I will.
·6· · · · · So you must provide verbal responses to my
·7· ·questions.· The court reporter can't record any
·8· ·uh-huhs, uh-uhs, shakes or nods of the head.· If you
·9· ·want to correct or come back to an answer, you can
10· ·do so, just please make sure it's clear,
11· ·particularly for the court reporter and for the
12· ·written record that will be prepared for this.
13· ·Just, you know, make sure you indicate that you're    888-893-3767
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14· ·going back to answer a previous question.
15· · · · · Please do not start to answer a question
16· ·until I have finished asking a question and I will
17· ·do my best to extend the same courtesy to you.                                                                                                                                                            I
18· ·know particularly on video that's not always
19· ·possible but I'll do my best and I ask that you do
20· ·your best also.· And it makes it easier for the
21· ·court reporter that has to try to write all this
22· ·stuff down.
23· · · · · So if you want to take break, please let me
24· ·know and we can absolutely arrange that.· I do
25· ·expect this to be a little bit longer of a

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                                                           Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                    Page 7
·1· ·deposition, so, again, anytime you need a break just
·2· ·let me know.
·3· · · · · A.· ·Okay.
·4· · · · · Q.· ·However, if there is a question pending,
·5· ·I do ask that you answer the question before we take
·6· ·a break.· So after I ask a question you can say,
·7· ·"I'd like to take a break after I answer this."· But
·8· ·for a clean record and so that way we don't have to
·9· ·ask the court reporter to repeat the question it
10· ·needs to be answered first.
11· · · · · Please do not guess as to any answer.
12· ·Although I am entitled to your best testimony and
13· ·best estimates today, I do not want you to guess if   888-893-3767
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14· ·you do not actually know the answer to my question.
15· · · · · A.· ·Okay.
16· · · · · Q.· ·And then finally -- I'm sorry what?
17· · · · · A.· ·I said, "Okay."
18· · · · · Q.· ·Okay.· Sorry.
19· · · · · All right.· So your deposition testimony will
20· ·be compiled into a booklet called the deposition
21· ·transcript at the end of this.· Your attorney can go
22· ·over this in more detail but you will have the
23· ·ability to review the deposition transcript and to
24· ·make minor changes.· Again, I think that your
25· ·attorney will probably go into more depth on that

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                                                           Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                    Page 8
·1· ·one and I'll let him do that.
·2· · · · · So did you understand those or did you have
·3· ·any questions about any of those?
·4· · · · · A.· ·No, not at the moment.
·5· · · · · Q.· ·Okay.· Fair enough.
·6· · · · · Did you do anything to prepare for this
·7· ·deposition today?
·8· · · · · A.· ·No.
·9· · · · · Q.· ·Okay.· All right.· Other than your
10· ·attorneys, did you talk to anybody about it?
11· · · · · A.· ·I spoke with my attorney yesterday.
12· · · · · Q.· ·Okay.· I don't want you to say what you
13· ·and your attorney spoke about at this point.· I just  888-893-3767
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14· ·have to ask if you spoke to anybody else other than
15· ·your attorneys?
16· · · · · A.· ·No.
17· · · · · Q.· ·All right.· So -- okay.· Thank you.
18· · · · · And did you graduate high school?
19· · · · · A.· ·Yes.
20· · · · · Q.· ·What high school was that and what year
21· ·did you graduate?
22· · · · · A.· ·Kankakee High School, 2003.
23· · · · · Q.· ·And did you go to -- attend any colleges
24· ·or earn any degrees after high school?
25· · · · · A.· ·Yes.

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                                                           Candace Vaughn                                                                                                                                      June 15, 2023
                                                                                                                                                                                                                    Page 9
·1· · · · · Q.· ·What were those degrees and when did you
·2· ·obtain them?
·3· · · · · A.· ·2006, dental assisting.
·4· · · · · Q.· ·And where did you go to school for that?
·5· · · · · A.· ·Georgia Medical Institute.
·6· · · · · Q.· ·When did you work for the Vaughn -- I'm
·7· ·sorry -- Fox Developmental Center?
·8· · · · · A.· ·September 2020 until December 2021.
·9· · · · · Q.· ·Before Fox what other careers or jobs
10· ·did you have?
11· · · · · A.· ·Before that I worked in an orthodontic
12· ·office for my dental assistant certificate.
13· · · · · Q.· ·And do you recall when that was?          888-893-3767
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14· · · · · A.· ·January 2018 until I got hired at Fox
15· ·September 2020.
16· · · · · Q.· ·How about before January of 2018, where
17· ·were you employed before that?
18· · · · · A.· ·A group home.· So I'm trying to think
19· ·because I -- sometimes I have two and three jobs at
20· ·a time.· ResCare, also called Community
21· ·Alternatives.
22· · · · · Q.· ·Where was that located at?
23· · · · · A.· ·In Bourbonnais, Illinois.
24· · · · · Q.· ·Could you spell the name of that city,
25· ·please?

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
                                                                                                                                                                                                                    Page 10
·1· · · · · A.· ·B-o-u-r-b-o-n-n-a-i-s.
·2· · · · · Q.· ·Thank you.· It helps the record when we
·3· ·spell these things out.
·4· · · · · A.· ·You're welcome.
·5· · · · · Q.· ·When did you work for the group home?
·6· · · · · A.· ·I don't remember the dates.
·7· · · · · Q.· ·Do you think you could give an
·8· ·approximation such as years or?
·9· · · · · A.· ·I think I was there for about two years
10· ·until Covid.
11· · · · · Q.· ·So about two years until Covid were you
12· ·working that job simultaneously with the
13· ·orthodontist?                                         888-893-3767
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14· · · · · A.· ·Yes.
15· · · · · Q.· ·And does anywhere else come to mind that
16· ·you were working at for your employment history
17· ·before Fox?
18· · · · · A.· ·Chef Vaughn's Kitchen.
19· · · · · Q.· ·Could you please spell that?
20· · · · · A.· ·Chef, S -- I mean C-h-e-f, and then my
21· ·last name, like Chef Vaughn's Kitchen.
22· · · · · Q.· ·My apologies for that.· I misheard and I
23· ·heard something differently.· But thank you for
24· ·clarifying that.
25· · · · · Do you recall approximately how long you had

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
                                                                                                                                                                                                                    Page 11
·1· ·your own kitchen?
·2· · · · · A.· ·Are you referring to that job, Chef
·3· ·Vaughn's Kitchen?
·4· · · · · Q.· ·Yes.
·5· · · · · A.· ·It's owned by my brother, so...
·6· · · · · Q.· ·Okay.· All right.· So do you recall how
·7· ·long you worked or helped out your brother?
·8· · · · · A.· ·I think he opened up in the beginning of
·9· ·2019 until -- wait -- I'm sorry.· Let me think of
10· ·the dates.
11· · · · · 2020.· He opened up in the beginning of 2020
12· ·and then Covid hit.
13· · · · · Q.· ·That was a really rough time for          888-893-3767
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14· ·businesses, particularly restaurants.
15· · · · · A.· ·Yeah.
16· · · · · Q.· ·All right.· I'd like to not spend too
17· ·much time on this portion of it, but I do have a few
18· ·questions about after Fox.
19· · · · · So you left in about December of 2021.· What
20· ·was your next job after that?
21· · · · · A.· ·Riverside Hospital.
22· · · · · Q.· ·Do you recall when you began employment
23· ·there?
24· · · · · A.· ·May 9th, 2022.
25· · · · · Q.· ·Are you currently still employed there?

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
                                                                                                                                                                                                                    Page 12
·1· · · · · A.· ·Yes.
·2· · · · · Q.· ·What's your job title there?
·3· · · · · A.· ·Mental health technician.
·4· · · · · Q.· ·What's your annual salary there?
·5· · · · · A.· ·I would have to get a calculator.
·6· ·Between 35 and 40 --
·7· · · · · Q.· ·Do you know --
·8· · · · · A.· ·-- maybe.
·9· · · · · Q.· ·All right.· Thank you.
10· · · · · So do you take about $3,000 net -- or
11· ·sorry -- gross home a month?
12· · · · · A.· ·Yes.
13· · · · · Q.· ·Okay.· And where is Riverside Hospital    888-893-3767
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14· ·located?
15· · · · · A.· ·Kankakee, Illinois.
16· · · · · Q.· ·All right.· Have you ever been
17· ·terminated from a job?
18· · · · · A.· ·Yes.
19· · · · · Q.· ·Who was the employer and when was the --
20· ·at least approximately to your best recollection
21· ·when did that happen?
22· · · · · A.· ·I don't remember.· They were none of the
23· ·jobs that I just told you about though but I have
24· ·been terminated in the past.
25· · · · · Q.· ·Okay.· From one place or several or do

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
                                                                                                                                                                                                                    Page 13
·1· ·you know?
·2· · · · · A.· ·It's been more than one.
·3· · · · · Q.· ·Would you be able to proximate times of
·4· ·when that happened?
·5· · · · · A.· ·No.
·6· · · · · Q.· ·Have you ever been disciplined at a job?
·7· · · · · A.· ·No, not that I can recall.
·8· · · · · Q.· ·Have you ever been involved in another
·9· ·lawsuit?
10· · · · · A.· ·No.
11· · · · · Q.· ·All right.· So I'd like to turn your
12· ·attention then to your employment at Fox
13· ·Developmental Center.                                 888-893-3767
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14· · · · · You began in September of 2020.· Were you
15· ·hired -- okay.· I'll just ask you:· What were you
16· ·hired as?
17· · · · · A.· ·Mental health technician.
18· · · · · Q.· ·Was that a trainee position?
19· · · · · A.· ·Yes.
20· · · · · Q.· ·All right.· I thought it was mental
21· ·health technician trainee but I wasn't sure, so I
22· ·didn't want to say --
23· · · · · A.· ·Yeah.
24· · · · · Q.· ·And so as part of the trainee position
25· ·usually you're -- you're then transitioned into just

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
                                                                                                                                                                                                                    Page 14
·1· ·a mental health technician; is that correct?
·2· · · · · A.· ·A mental health technician II.· They got
·3· ·numbers with it.
·4· · · · · Q.· ·Thank you for the clarification.
·5· · · · · And how -- what was your salary while you
·6· ·were employed there?
·7· · · · · A.· ·The same as now, around 3,000 a month or
·8· ·3100.· I actually believe when I left it was -- I
·9· ·think it was up to 3300 a month.
10· · · · · Q.· ·And as a mental -- let's start with as a
11· ·mental health trainee what were your job duties and
12· ·responsibilities?
13· · · · · A.· ·Charting patients' behaviors, bathing,    888-893-3767
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14· ·like everyday things that we can normally do that
15· ·they can't do, bathing, feeding, dressing, small
16· ·activities with them, like exercises, like movements
17· ·of their body parts when you're changing them.
18· ·That's really all I can think of now, main
19· ·requirements --
20· · · · · Q.· ·Were you --
21· · · · · A.· ·-- of the job.
22· · · · · Sorry?
23· · · · · Q.· ·I apologize for interrupting you.· No
24· ·worries.· Like I said, that happens sometimes.
25· · · · · Were you responsible for taking vitals of the

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·1· ·patients?
·2· · · · · A.· ·Yes, I believe so.
·3· · · · · Q.· ·And when you say helping them do
·4· ·exercise, you were responsible for helping them make
·5· ·sure they do the movements and just kind of getting
·6· ·them to just move their body a little bit, right?
·7· · · · · A.· ·Yes.
·8· · · · · Q.· ·And then when you became a mental health
·9· ·technician II, did your job duties change?
10· · · · · A.· ·I want to say yes -- or, no, you know, I
11· ·really don't know.· I can't remember if it -- if we
12· ·were -- if it's just a number, you know, or -- I
13· ·don't remember if they changed or not.· I think just  888-893-3767
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14· ·moving up to a two means that you're in the safe
15· ·zone from not being a trainee anymore.
16· · · · · Q.· ·Thank you for your answer.· And, again,
17· ·I want to reiterate if -- I appreciate that you
18· ·said, "I don't know."· If that's your best answer
19· ·then, you know, please feel free to say that.
20· ·Again, I don't want you to like guess or speculate,
21· ·so I appreciate that.
22· · · · · A.· ·Yes.
23· · · · · Q.· ·So in your complaint you -- so at least
24· ·part of your complaint is that you were
25· ·discriminated against during your employment at the

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·1· ·Fox Developmental Center.
·2· · · · · I'm just going to open up this question to
·3· ·you then:· Can you please elaborate upon how you
·4· ·feel that you were discriminated against while you
·5· ·were employed at Fox?
·6· · · · · A.· ·You said why do I feel like I was?
·7· · · · · Q.· ·Yes.
·8· · · · · A.· ·I'm not sure why.· Rumors around work
·9· ·were always because we were in a town -- we worked
10· ·in a town that had racism there.· That was the rumor
11· ·around work.
12· · · · · Q.· ·Okay.· So, I'm sorry, I just -- I would
13· ·like to kind of get some clarifications so I          888-893-3767
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14· ·understand better.
15· · · · · So you're saying that the rumor at work was
16· ·because the town itself has issues of racism?
17· · · · · A.· ·And those people worked at that job,
18· ·yes.
19· · · · · Q.· ·All right.· So there were people -- so
20· ·some of your fellow employees who worked at Fox
21· ·would -- I guess acted in a racially discriminated
22· ·way outside of work?
23· · · · · A.· ·No, they talked about that inside of
24· ·work.
25· · · · · Q.· ·Okay.· Can you give me some examples,

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·1· ·please?
·2· · · · · A.· ·Like when I first started to work there,
·3· ·people would complain -- Caucasian and black people
·4· ·would complain of there being racism at work, like
·5· ·they discriminated against black people that worked
·6· ·there.
·7· · · · · Q.· ·So you're saying both white and black
·8· ·employees commented that black employees at Fox were
·9· ·being discriminated against?
10· · · · · A.· ·Yes.
11· · · · · Q.· ·And do you have any specific examples of
12· ·that?
13· · · · · A.· ·No.                                       888-893-3767
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14· · · · · Q.· ·All right.· Do you have any specific
15· ·examples of incidences of racial discrimination
16· ·targeted against you?
17· · · · · A.· ·Can you repeat that?
18· · · · · Q.· ·Yeah.· Absolutely.· And I kind of leaned
19· ·away from the camera, so I'm sorry for that.
20· · · · · Do you have any specific examples of racial
21· ·discrimination events targeted towards you?
22· · · · · A.· ·Yes.
23· · · · · Q.· ·Okay.· Can you please elaborate upon
24· ·that?
25· · · · · A.· ·I think it was my last day there maybe I

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·1· ·want to say or -- I don't remember the date but I
·2· ·was told by a different ethnicity woman that she did
·3· ·not like to work with black people.· She said she
·4· ·couldn't stand working with black people and I felt
·5· ·that was racist.
·6· · · · · Q.· ·Let's start with that one.· So that was
·7· ·an incident involving Veronica Wilkinson; is that
·8· ·correct?
·9· · · · · A.· ·Yes.
10· · · · · Q.· ·All right.· And that happened, for the
11· ·sake of this deposition, on or about December 3rd,
12· ·correct?
13· · · · · A.· ·Could have been.· I'm not sure of the     888-893-3767
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14· ·exact date that it happened but, yes, sir.
15· ·Definitely in December.
16· · · · · Q.· ·All right.· I can show you a document if
17· ·I need to but would you disagree with me if I told
18· ·you that your last date was -- or at least the date
19· ·of the incident was December 3rd?
20· · · · · A.· ·You said that was my last day or the
21· ·incident?
22· · · · · Q.· ·So, yeah, so I think I need to clarify
23· ·upon that because I think you mentioned your last
24· ·day earlier.· And so the way I understand it is this
25· ·incident occurred on December 3rd and then your last

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·1· ·day was December 14th; is that correct?· Does that
·2· ·ring a bell to you?
·3· · · · · A.· ·I want to say the 16th or the 17th was
·4· ·my last day.
·5· · · · · Q.· ·Now that I think about what I said, I
·6· ·think I said the 14th.· So I was saying 14 days.
·7· ·So, right, so December 3rd to December 17th.· So
·8· ·December 17th was actually your last day.· But kind
·9· ·of the incident that I -- in my words kind of
10· ·sparked the 17th being your last day was an incident
11· ·on the 3rd with Veronica Wilkinson.
12· · · · · Would you say that's accurate?
13· · · · · A.· ·It could be.· The date could be right.    888-893-3767
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14· · · · · Q.· ·Okay.· So let's just focus on the
15· ·incident with Veronica.· Do you remember that?
16· · · · · A.· ·Vividly, yes.
17· · · · · Q.· ·And can you please tell us what
18· ·happened?
19· · · · · A.· ·I know it happened at the beginning of
20· ·the shift.· She seemed to have an attitude that
21· ·morning when she came into work.· And I really -- I
22· ·can't remember -- let's see.· I forget what happened
23· ·as far as why she got upset with me.· I think she
24· ·was trying to give me more people in my group than I
25· ·was supposed to have and I told her that I wasn't

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·1· ·going to do that whole entire group by myself.· And
·2· ·I believe she got upset.
·3· · · · · We were in the nurses' station and I was so
·4· ·upset that day about what she said I don't
·5· ·remember -- I don't recall why we were in the
·6· ·nurses' station.· I think it was to use the phone so
·7· ·I could call the supervisor.· And after I spoke with
·8· ·the supervisor she got upset.· I walked -- I was
·9· ·walking out of the room, she got upset and mumbled
10· ·under her breath that she can't stand working with
11· ·black people.
12· · · · · Q.· ·Okay.· Do you recall filling out any
13· ·kind of memos or statements on this?                  888-893-3767
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14· · · · · A.· ·Yes.
15· · · · · Q.· ·All right.· And since you testified that
16· ·you weren't entirely sure what was the cause of the
17· ·disagreement between you, would your previous
18· ·witness statement help refresh your recollection?
19· · · · · A.· ·Yeah.· Mm-hmm.
20· · · · · Q.· ·Okay.· I'm going to show you a written
21· ·statement that you made.· Give me a moment while I
22· ·make sure that I'm going to do this right.
23· · · · · A.· ·Okay.· I can't see that.
24· · · · · Q.· ·All right.· So I hope that I've shared a
25· ·document that says it's from you dated December 3rd,

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·1· ·2021.· Do you see that?
·2· · · · · A.· ·A little.· I can't read it but I see the
·3· ·paper.· I see the memo.
·4· · · · · Q.· ·Okay.· All right.· Let me go to a
·5· ·different page and let's see if that would -- that
·6· ·was the only one of that one.· All right.· Let me
·7· ·find a better one.· I'm just going to do a larger
·8· ·zoom on this.
·9· · · · · Okay.· So now can you see that memo a little
10· ·bit better?
11· · · · · A.· ·Yes.
12· · · · · Q.· ·All right.· Fantastic.· Would you please
13· ·take a moment to read this.                           888-893-3767
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14· · · · · A.· ·"Veronica has been picking on me since I
15· ·came" -- that?
16· · · · · Q.· ·I'm sorry.· I'm going to interrupt you.
17· ·You don't have to read out loud.· I just kind of
18· ·want you to read it for yourself and refresh your
19· ·recollection.
20· · · · · A.· ·Okay.· I can't read the bottom part
21· ·but...
22· · · · · Q.· ·Okay.· That's fine because I got another
23· ·page to show you anyway.· So let me scroll down.
24· ·And this is part of the next page.· Can you read
25· ·this?

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·1· · · · · A.· ·A little.
·2· · · · · Okay.
·3· · · · · Q.· ·All right.· I'm going to scroll down a
·4· ·little bit more.
·5· · · · · A.· ·I didn't read the whole thing because
·6· ·it's making my eyes hurt but okay.
·7· · · · · Q.· ·Okay.· Do you at least believe that you
·8· ·recall the incident a little bit better now?
·9· · · · · A.· ·Somewhat.· So many things happened to me
10· ·at Fox that some I reported and some I just threw it
11· ·over my shoulder.
12· · · · · Q.· ·All right.· Well, clearly you reported
13· ·this incident; is that correct?                       888-893-3767
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14· · · · · A.· ·Definitely.
15· · · · · Q.· ·Let me stop the screen-share.
16· · · · · And so from what you recall now, it was
17· ·because you were asked to watch a group of people
18· ·and you indicated that you did not want to do that?
19· · · · · A.· ·No.· She tried to put more work on me so
20· ·she didn't have to do the work.· She tried to give
21· ·me more people in my group and I told her, no, I
22· ·wasn't doing it.
23· · · · · Q.· ·All right.· Did you believe that your
24· ·job duties that day should have been to only watch
25· ·one individual?

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·1· · · · · A.· ·Oh, no, we had -- every tech had at
·2· ·least four to five people on their own but she was
·3· ·trying to give me extra, more than four or five.
·4· · · · · Q.· ·Okay.· So it would be normal for a tech
·5· ·to have to watch four to five people?
·6· · · · · A.· ·Yes.· Unless you're doing a one-to-one,
·7· ·then you would only do that one person.
·8· · · · · Q.· ·And how often would a tech be assigned
·9· ·to do a one-to-one?
10· · · · · A.· ·Just depends.· But we didn't have any
11· ·one-to-ones on that particular unit, 3C.
12· · · · · Q.· ·All right.· So you did not have any
13· ·one-to-ones on 3C?                                    888-893-3767
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14· · · · · A.· ·No.
15· · · · · Q.· ·So when you were watching your group,
16· ·what would be your normal responsibilities when
17· ·watching the group of people?
18· · · · · A.· ·Make sure you're checking on them every
19· ·15 minutes, make sure they're still breathing, make
20· ·sure they are not slumped over or falling out of
21· ·their wheelchairs, things of that nature.· Just
22· ·making sure that they're okay and accounted for.
23· · · · · Q.· ·And would any of your responsibilities
24· ·be such as exercising them when they were in the
25· ·group or would that be more of an individualized

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·1· ·basis?
·2· · · · · A.· ·That would -- we did that more so when
·3· ·we were changing them or bathing them.
·4· · · · · Q.· ·And when you were changing or bathing an
·5· ·individual, that would be a one-to-one interaction?
·6· · · · · A.· ·Yes.
·7· · · · · Q.· ·So this incident that you were
·8· ·mentioning, this is the one that prompted your
·9· ·resignation from Fox; is that correct?
10· · · · · A.· ·Yes.· At that point I was just fed up
11· ·and distraught, so, yes.
12· · · · · Q.· ·All right.· You indicated that -- so you
13· ·gave a typical two-week notice; is that correct?      888-893-3767
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14· · · · · A.· ·No.· I wrote it in my memo but that's
15· ·not the way that you're supposed to resign from a
16· ·position per HR lady.· Her name was Shelly, Shelly
17· ·Jackson or something like that.· She said that I
18· ·wasn't supposed to do it in that nature.· She said,
19· ·"You can't put your two weeks notice in on a memo
20· ·because you're upset."
21· · · · · She said, "You have to come downstairs and
22· ·write it out with me and give it to me in a separate
23· ·letter," which I never did.
24· · · · · Q.· ·All right.· Was it your intent to put in
25· ·your two-week notice on that day?

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·1· · · · · A.· ·No.
·2· · · · · Q.· ·So when you wrote that you're putting in
·3· ·your 14-day notice, what was your intent?
·4· · · · · A.· ·On the memo?
·5· · · · · Q.· ·Yes.
·6· · · · · A.· ·I didn't know I was going to put in my
·7· ·14-day notice that day.· After that happened with
·8· ·Veronica I immediately left the unit, went and wrote
·9· ·a memo on her and got so upset that I wrote that in
10· ·the end and I went home that same day.· I went home
11· ·early.
12· · · · · Q.· ·You acknowledge that you did write that
13· ·you were putting in your 14-day notice, right?        888-893-3767
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14· · · · · A.· ·I'm sorry.· Can you repeat that?
15· · · · · Q.· ·Yeah.
16· · · · · You -- do you acknowledge that you did in
17· ·fact write that you were putting in your 14-day
18· ·notice to vacate the job?
19· · · · · A.· ·Yes, I put that in the memo.
20· · · · · Q.· ·And so if you wrote that in the memo,
21· ·what was your intention?
22· · · · · A.· ·To leave the job until I was told
23· ·otherwise.
24· · · · · Q.· ·And then -- okay.
25· · · · · So it is your statement today that you were

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·1· ·told that that wasn't the proper way to put in your
·2· ·two-week notice?
·3· · · · · A.· ·Yes.· Human resources --
·4· · · · · Q.· ·Did anybody remind -- I'm sorry.· Were
·5· ·you in the middle of a further answer?
·6· · · · · A.· ·I was just saying human resources, the
·7· ·lady that worked there, I think her name was
·8· ·Shelly -- Shelly Row (ph) Jackson or something like
·9· ·that, she was the one who told me that I couldn't
10· ·put it in the memo of writing Veronica up, that I
11· ·can't vacate that way.· She said I had to do it on a
12· ·separate letter, which I had never done.
13· · · · · Q.· ·All right.· Did somebody later remind     888-893-3767
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14· ·you that you had indicated that your last day was
15· ·going to be December 17th?
16· · · · · A.· ·On December 16th, yes.
17· · · · · Q.· ·Okay.· Who was that?
18· · · · · A.· ·Supervisor Jocelyn Miles.
19· · · · · Q.· ·All right.· And do you recall what she
20· ·told you?
21· · · · · A.· ·I remember her coming on my unit and
22· ·giving me a white envelope and she said that --
23· ·something about that being my last day and to take
24· ·care.
25· · · · · Q.· ·What was your response to that?

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·1· · · · · A.· ·My eyebrows immediately went up.
·2· · · · · Q.· ·Did you say anything?
·3· · · · · A.· ·I don't remember -- let me see.· Yeah, I
·4· ·think I said something to her.· I just don't
·5· ·remember what it was.· But I know I said something
·6· ·to her and then I read the letter.
·7· · · · · Q.· ·Okay.· That's -- that's great.· Thank
·8· ·you for that.
·9· · · · · Did you have a conversation with anybody else
10· ·about wanting to continue your employment at Fox?
11· · · · · A.· ·Yes.
12· · · · · Q.· ·And who was that?
13· · · · · A.· ·Facility director Sybil.                  888-893-3767
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14· · · · · Q.· ·And do you recall how that conversation
15· ·went?
16· · · · · A.· ·Unprofessional and all over the place.
17· ·But I do remember Shelly Jackson, human resource
18· ·lady, being on the three-way call with us.
19· · · · · Q.· ·And why did you characterize it as
20· ·unprofessional?
21· · · · · A.· ·Because Sybil, she really wasn't trying
22· ·to hear what I was saying and she was trying to rush
23· ·me off the phone.· She acted as if, you know, like
24· ·she didn't want to have anything to do with anything
25· ·that was going on with me.· Because every time I

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·1· ·wrote a memo where I felt like I was, you know,
·2· ·being harassed or discriminated against or, you
·3· ·know, with me being pushed by a nurse at work
·4· ·nothing ever happened.· She always tried to stay
·5· ·like in the background, never say nothing about it.
·6· · · · · So that's why, you know, being a facility
·7· ·director I think you should get down to the issue of
·8· ·what's going on and she never did that.· She always
·9· ·tried to hide in her office and just not be a part
10· ·of anything going on at the facility and I think
11· ·that's unprofessional.
12· · · · · Q.· ·All right.· So just so that way I'm
13· ·understanding the particular reference, we can        888-893-3767
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14· ·circle back with everything else, but just in
15· ·particular to this phone call, you mentioned that it
16· ·was unprofessional because you felt rushed and she
17· ·didn't want to listen to you and she was trying to
18· ·get you off the phone.· Am I understanding that
19· ·correctly?
20· · · · · A.· ·Yes.
21· · · · · Q.· ·All right.· And so when you were on-the-
22· ·phone with Ms. Nash, the center director Nash, it
23· ·was her understanding that that day that you were
24· ·talking to her was your last day; is that correct?
25· · · · · A.· ·Yes.· I believe I spoke with her

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·1· ·December the 17th --
·2· · · · · Q.· ·So they had -- so they had considered
·3· ·your statement and the memo to be your two-week
·4· ·notice, right?
·5· · · · · A.· ·Yes, even though human resources, Shelly
·6· ·Jackson, said that it wasn't.· But when Sybil got on
·7· ·the line, she replied that she never told me that.
·8· · · · · Q.· ·Are you aware of anybody else who put in
·9· ·a two-week notice and was told that it wasn't
10· ·enough?
11· · · · · A.· ·No.· I never really got in other
12· ·people's business.· I hardly ever talked to anybody
13· ·there, so, no, to that question.                      888-893-3767
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14· · · · · Q.· ·Thank you for that.· I just have to
15· ·follow up.
16· · · · · Were you aware of anybody who put in their
17· ·two-week notice and was able to successfully rescind
18· ·it?
19· · · · · A.· ·Not sure.
20· · · · · Q.· ·All right.· So you -- that was not the
21· ·only memo you put in complaining about your
22· ·treatment at Vaughn -- or sorry -- at Fox; is that
23· ·correct?
24· · · · · A.· ·Yes.
25· · · · · Q.· ·Okay.· Can you recall any of the other

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·1· ·incidents?
·2· · · · · A.· ·Yes.
·3· · · · · Q.· ·Okay.· Can you please elaborate upon one
·4· ·of them?
·5· · · · · A.· ·When I was physically pushed by Angela
·6· ·Smith.
·7· · · · · Q.· ·Okay.· Do you recall when that was?
·8· · · · · A.· ·No, I don't.· It was early on in.                                                                                                                                                              I
·9· ·had -- I had just started working there.· I do
10· ·remember that.· I just remember that I wasn't out of
11· ·training yet.
12· · · · · Q.· ·So you know that you were in training
13· ·and that it was going on then.                        888-893-3767
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14· · · · · So I apologize.· I thought I had a written
15· ·memo from you.· If I told you that that incident
16· ·occurred on March 10th, 2021, would you have any
17· ·reason to disagree with me?
18· · · · · A.· ·It sounds about right.
19· · · · · Q.· ·Okay.· All right.· So then let's move
20· ·past that part.
21· · · · · So can you -- I know you indicated that
22· ·Angela Smith had pushed you.· Can you please
23· ·elaborate further upon that incident?
24· · · · · A.· ·I'm sorry.· I'm trying to see if I can
25· ·think of each of the details.· I remember she got

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·1· ·forced to do two units that day, which she's never
·2· ·on my unit.· So she had to do two units.· She came
·3· ·on my unit upset.· She came on the unit cursing very
·4· ·loudly and right in front of the patients.
·5· · · · · I don't remember, like, as far as the
·6· ·beginning details of why her -- me and her actually
·7· ·had words with each other but this lady literally
·8· ·put her hands on me and forcefully pushed me in my
·9· ·back trying to push me out of the nurses' station,
10· ·like -- and I was like clenching my feet to the
11· ·ground and there was a girl standing right there,
12· ·her name was Nicole.· And she's like, "Hey, you need
13· ·to stop it.· What are you guys doing?· Stop.· Stop."  888-893-3767
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14· · · · · And she literally pulled my wrist and was
15· ·like, "Come on, get away from her.· Let's go.· Like,
16· ·what is she doing?"
17· · · · · So that was really pretty much all I
18· ·remember.· I just couldn't believe that, you know,
19· ·being at work somebody could actually -- and I
20· ·wouldn't call it an assault because I wasn't
21· ·forcefully hit but you put your hands on me without
22· ·my permission and you were trying to hurt me.
23· · · · · I'm not sure why she did that but that's --
24· ·yeah, she put her hands on me.· I had two witnesses
25· ·that were terrified to come forward because they

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·1· ·said they didn't want to lose their job.
·2· · · · · Q.· ·Was one of those witnesses Nicole?
·3· · · · · A.· ·Yes.
·4· · · · · Q.· ·Who was the other one?
·5· · · · · A.· ·Charles.· I don't remember his last name
·6· ·but I do know that him and Angela used to have
·7· ·sexual intercourse with each other, so that was a
·8· ·reason why he didn't want to be a part of what
·9· ·happened.
10· · · · · Q.· ·Okay.· And do you recall what happened
11· ·after that event?
12· · · · · A.· ·Yes.· She immediately called the
13· ·supervisors because she seen me trying to walk down   888-893-3767
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14· ·the hall to the other phone because she -- she
15· ·blocked the phone from me calling -- because she
16· ·pushed -- she tried to push me out of the room and
17· ·she tried to block me from getting the phone to tell
18· ·on her.· So she beat me to the phone call of calling
19· ·the supervisor.
20· · · · · Q.· ·Just to make sure that we -- we
21· ·understand this, when you said "she" in your last
22· ·answer, you're referring to Angela Smith, right?
23· · · · · A.· ·Yes.
24· · · · · Q.· ·Okay.· So she called the supervisors and
25· ·then do you know what happened after that?

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·1· · · · · A.· ·They came to the unit.
·2· · · · · Q.· ·Did they take your statement?
·3· · · · · A.· ·Yes.
·4· · · · · Q.· ·Did they take Angela Smith's statement?
·5· · · · · A.· ·I'm pretty sure they did.· I didn't see
·6· ·it.· They walked me off the unit to go to a separate
·7· ·room to do it.
·8· · · · · Q.· ·Okay.· So they separated you two and
·9· ·then they took your statement?
10· · · · · A.· ·Yes.
11· · · · · Q.· ·And do you know what happened -- so what
12· ·happened after they took your statement?
13· · · · · A.· ·They sent me right back to my unit.       888-893-3767
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14· · · · · Q.· ·That same exact unit working with Angela
15· ·Smith?
16· · · · · A.· ·I can't recall if she was still working
17· ·that unit because it happened so long ago but I know
18· ·I definitely got sent back to my unit.
19· · · · · Q.· ·So when you say you got sent back to the
20· ·same unit, are we talking the same day or a
21· ·different day?
22· · · · · A.· ·No, the same day.
23· · · · · Q.· ·And then were you later reassigned to
24· ·another job responsibility?
25· · · · · A.· ·Yes.

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·1· · · · · Q.· ·What were you reassigned to?
·2· · · · · A.· ·The kitchen.
·3· · · · · Q.· ·And then do you happen to know what
·4· ·happened to Angela Smith?
·5· · · · · A.· ·I was told that she got to work in the
·6· ·office doing paperwork.
·7· · · · · Q.· ·To the best of your knowledge was the
·8· ·kitchen work an agreed upon job reassignment
·9· ·location pursuant to the collective bargaining
10· ·agreement?
11· · · · · A.· ·Can you repeat that?
12· · · · · Q.· ·Yes.· And, again, I want to reiterate
13· ·this is to the best of your knowledge.· So if you     888-893-3767
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14· ·don't know -- if you don't know, that's fine, please
15· ·say that.
16· · · · · A.· ·Okay.
17· · · · · Q.· ·Was the reassignment to the cook
18· ·position, was that pursuant to the collective
19· ·bargaining agreement?
20· · · · · A.· ·I don't know.· I don't think so.
21· · · · · Q.· ·All right.· Thank you for that.
22· · · · · And then so you had that listed in your
23· ·complaint.· Is that one of the reasons why you feel
24· ·like you were discriminated against?
25· · · · · A.· ·Being pushed?

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·1· · · · · Q.· ·Sure.· Why don't you tell me why you
·2· ·felt you were discriminated against for that
·3· ·incident.
·4· · · · · A.· ·There were several reasons I felt
·5· ·discriminated against but not because I had to go to
·6· ·the kitchen to work in the kitchen.
·7· · · · · Q.· ·Okay.· So what were those reasons?
·8· · · · · A.· ·Everything that's happened to me there.
·9· ·People picking on me, making rude comments to me
10· ·under their breath like I didn't hear it.· And they
11· ·do it on purpose when nobody is around so they won't
12· ·have a witness.
13· · · · · Q.· ·Okay.· I would just like to interrupt     888-893-3767
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14· ·you there for just a moment.· I want to stay focused
15· ·on this March 10th, incident.
16· · · · · So when you said people were talking about
17· ·you, making comments, does that relate to this
18· ·March 10th incident?
19· · · · · A.· ·No, just in general of me working there.
20· · · · · Q.· ·Okay.· All right.· Thank you for the
21· ·clarification.
22· · · · · So just focus on the March 10th incident for
23· ·right now and I promise we can come back to the
24· ·other ones.
25· · · · · A.· ·Okay.

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·1· · · · · Q.· ·But just focusing on the March 10th
·2· ·incident right now, why do you believe that was
·3· ·proof of discrimination against you by Fox?
·4· · · · · A.· ·Our skin colors.· The fact that I had to
·5· ·get sent to the kitchen where the job was really
·6· ·hard and sweaty versus her sitting in an office
·7· ·pushing paperwork, super easy.
·8· · · · · I felt like I was the one who -- you know, I
·9· ·didn't do anything, so I should have been able to
10· ·stay on my unit and keep working while she should
11· ·have got investigated for pushing me.· So, yeah, I
12· ·do feel like that was kind of discrimination.
13· · · · · Q.· ·Would you agree that if two people are    888-893-3767
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14· ·involved an incident that it would be appropriate to
15· ·reassign both of those people?
16· · · · · A.· ·I don't know.
17· · · · · Q.· ·So this was -- that was one of the
18· ·incidences where you filed a memo complaining about
19· ·your treatment; is that correct?
20· · · · · A.· ·Yes.
21· · · · · Q.· ·Do you recall who you complained to
22· ·about that incident?
23· · · · · A.· ·I believe Debbie.
24· · · · · Q.· ·Do you know a last name?
25· · · · · A.· ·Don't remember it.· She was a

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·1· ·supervisor.· She was -- they called them RSS.
·2· · · · · Q.· ·And what does RSS stand for, so we have
·3· ·a clean record?
·4· · · · · A.· ·I think residential supervisor.· Don't
·5· ·know what the last "s" stands for.
·6· · · · · Q.· ·Okay.· All right.· I'm kind of blanking
·7· ·on it but at least for the time being my
·8· ·understanding is it's residential shift supervisor.
·9· ·Would you tend to agree with that?
10· · · · · A.· ·I don't know.· I remember seeing her
11· ·face -- oh, wait.· I'm sorry.· What did you say?
12· ·I'm sorry, sir.
13· · · · · Q.· ·From my understanding RSS stands for      888-893-3767
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14· ·residential shift supervisor.· Does that sound right
15· ·to you?
16· · · · · A.· ·It -- yeah, it could be.· Yes.
17· · · · · Q.· ·Okay.· All right.· Thank you for that.
18· ·So let's move on.
19· · · · · Okay.· So you don't remember Debbie's last
20· ·name or do you?
21· · · · · A.· ·No.
22· · · · · Q.· ·Okay.· And she was one of the RSS on
23· ·duty that day, right?
24· · · · · A.· ·Yes.
25· · · · · Q.· ·And do you recall what happened after

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·1· ·you made your complaint?
·2· · · · · A.· ·I don't -- no, I don't remember.                                                                                                                                                           I
·3· ·don't remember what happened.· I know that I went
·4· ·back to the unit to work and the very next day I was
·5· ·reassigned.
·6· · · · · Q.· ·All right.· Do you recall being told by
·7· ·anybody that you should have filed a complaint with
·8· ·the Bureau of Civil Affairs, also known as BCA?
·9· · · · · A.· ·I don't know.
10· · · · · Q.· ·Do you know what the BCA is?
11· · · · · A.· ·No.
12· · · · · Q.· ·Are you aware of any other incidents of
13· ·a physical altercation between a white and a black    888-893-3767
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14· ·employee at Fox?
15· · · · · A.· ·I don't remember.
16· · · · · Q.· ·Are you aware of any physical
17· ·altercation between two employees at Fox regardless
18· ·of their race?
19· · · · · A.· ·Actually, back to the last question, yes
20· ·to that.
21· · · · · Q.· ·Okay.· So yes as to a physical
22· ·altercation between a white and a black employee?
23· · · · · A.· ·Oh, you said physical?
24· · · · · Q.· ·Yes.
25· · · · · A.· ·No.· No.· No, I don't know.

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·1· · · · · Q.· ·All right.· So I'm going to re-ask this
·2· ·because I didn't catch your answer.
·3· · · · · Are you aware of any physical altercations
·4· ·between any two employees regardless of race?
·5· · · · · A.· ·I don't know.· Not about physical, no.
·6· · · · · Q.· ·Okay.· So you said you were aware of an
·7· ·altercation, not necessarily physical, between a
·8· ·white and a black employee.· Can you please
·9· ·elaborate on that?
10· · · · · A.· ·I just remember a girl had just started
11· ·working there.· I forgot her name.· She was a black
12· ·girl and she always made statements and comments.
13· ·And I know that she also -- I want to say she wrote   888-893-3767
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14· ·some memos as well on a particular girl that she had
15· ·to work with every day, which she was a white girl.
16· · · · · But they -- I do know that they got into it a
17· ·lot on their unit and this was a totally different
18· ·unit from my unit.
19· · · · · Q.· ·But still within Fox, correct?
20· · · · · A.· ·Yes.
21· · · · · Q.· ·And do you know anything about what
22· ·happened about that?· You know what, hold on.· That
23· ·was terribly very generically phrased.
24· · · · · Are you aware of any final resolution
25· ·regarding that scenario?

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·1· · · · · A.· ·No.
·2· · · · · Q.· ·And so then other than this RSS Debbie,
·3· ·did you complain to anybody else about the incident
·4· ·with Angela Smith?
·5· · · · · A.· ·Yes, I believe I spoke with Ray Jackson,
·6· ·I want to say his name is.
·7· · · · · Q.· ·And Ray Jackson was at the time the
·8· ·center director; is that correct?
·9· · · · · A.· ·Yes.· He's one step under the Sybil
10· ·lady, so, yeah.
11· · · · · Q.· ·Okay.· All right.· And do you recall
12· ·what he told you?
13· · · · · A.· ·No, I don't.· I just know --              888-893-3767
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14· · · · · Q.· ·Do you recall --
15· · · · · A.· ·-- that he -- sorry.· I just know -- I
16· ·just remember him reassigning me to work in the
17· ·kitchen but I don't remember like the full
18· ·conversation.
19· · · · · Q.· ·So he was the one that reassigned you to
20· ·work in the kitchen?
21· · · · · A.· ·Yeah.
22· · · · · Q.· ·Do you recall him telling you to file a
23· ·complaint with the BCA?
24· · · · · A.· ·I don't remember.
25· · · · · Q.· ·All right.· So now I'd like to open this

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·1· ·back up again.· And you mentioned that there was
·2· ·other incidences, including comments, that you
·3· ·believe were -- sorry, I'm looking for the right
·4· ·word here -- that you believe could be used to prove
·5· ·racial discrimination against you by Fox.· Could you
·6· ·please elaborate upon those comments?
·7· · · · · · · ·MR. TAYLOR:· I'm just going to object to
·8· ·the form of the question but if you understood it,
·9· ·Ms. Vaughn, go ahead and answer.
10· · · · · A.· ·I didn't understand it.
11· · · · · Q.· · (MR. HOGUE) Yeah, that's fine.                                                                                                                                                           I
12· ·understand that was not the best phrased question.
13· · · · · Okay.· So I'd like to circle back.· Earlier    888-893-3767
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14· ·you mentioned that there was people muttering under
15· ·their breaths, making comments about race.· I'd like
16· ·to turn back at those.· Can you please elaborate
17· ·upon those, like dates, who might have said it, what
18· ·they said?
19· · · · · A.· ·Oh, I was talking about Veronica, when
20· ·she -- she mumbled under her breath that she can't
21· ·stand working with black people.
22· · · · · Q.· ·Okay.· Was that the only one?· Because I
23· ·thought you said that you heard people muttering
24· ·under their breath you thought that -- or sorry --
25· ·that you believe that they thought you couldn't hear

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·1· ·when they were making comments but you did hear them
·2· ·making comments.· Was Veronica the only one?
·3· · · · · · · ·MR. TAYLOR:· Again, I'm just going to
·4· ·object to the form, compound question, but if you
·5· ·understood it, Ms. Vaughn, go ahead and answer.
·6· · · · · A.· ·No.· No, I was just talking about
·7· ·Veronica, what she mumbled under her breath.
·8· · · · · Q.· · (MR. HOGUE) And that was the statement
·9· ·that you indicated earlier about that she doesn't
10· ·like working with black people, right?
11· · · · · A.· ·Yes.
12· · · · · Q.· ·All right.· So we've talked about this
13· ·December incident, 2021, with Veronica and a          888-893-3767
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14· ·March 2021 incident with Angela Smith.· Are there
15· ·any other incidents that you believe were evidence
16· ·of racial discrimination against you?
17· · · · · A.· ·Yes.
18· · · · · Q.· ·Can you please elaborate upon that?
19· · · · · A.· ·I worked with a lady named Paula Hertz
20· ·and she just -- I was always picked on.· Every time
21· ·I worked with her it was -- I felt as she always
22· ·picked on me because I never seen her do it to
23· ·anybody else that we worked with but me.
24· · · · · Q.· ·Thank you for that.· I'd like to kind of
25· ·first get a kind of background on this.

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·1· · · · · When did you work with Paula?· Can you recall
·2· ·an approximate timeframe?
·3· · · · · A.· ·No, but pretty much the whole entire
·4· ·time I worked on Unit 3C.
·5· · · · · Q.· ·Do you recall when you worked on Unit
·6· ·3C?
·7· · · · · A.· ·No, because they -- Fox always bounces
·8· ·me around the building and make me go from first
·9· ·shift to third shift and third shift back to first
10· ·shift, so, no, I can't recall it.
11· · · · · Q.· ·All right.· So if -- in your complaint
12· ·you mention that in May 2021 another Caucasian
13· ·worker, Paula Hertz, would yell at you and accost     888-893-3767
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14· ·you in front of other employees.
15· · · · · So apparently you worked with Paula around
16· ·May of 2021.· Would that be a fair assessment?
17· · · · · A.· ·Could be.
18· · · · · Q.· ·Okay.· All right.· So you said that she
19· ·would make statements that were directed only to
20· ·you, she would not make statements directed to
21· ·anybody else?
22· · · · · A.· ·No.
23· · · · · Q.· ·Okay.· Were you the only black employee
24· ·in Unit 3C?
25· · · · · A.· ·No.

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·1· · · · · Q.· ·And if you can -- and I understand it's
·2· ·been a while -- can you recall the approximate
·3· ·composition of the employees at Unit 3C?
·4· · · · · A.· ·No, it changed a lot.
·5· · · · · Q.· ·Thank you.
·6· · · · · All right.· And so can you please elaborate
·7· ·further upon like the kind of comments that she
·8· ·would make towards you?
·9· · · · · A.· ·She would always tell me stuff like --
10· ·just everything that came out of her mouth was
11· ·always negative.· She was always a negative person
12· ·but toward me.· Like I said, I never seen her do it
13· ·with other people on the unit but she would always    888-893-3767
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14· ·like -- okay, so the Tech IIs would have to fill in
15· ·and be the Tech III sometimes, which that means
16· ·we're in charge over the unit.
17· · · · · So Paula would give me a hard group of people
18· ·and then she would -- instead of doing her own work
19· ·she would follow me around the unit and try to sneak
20· ·up on me to see if I was doing something, you know
21· ·what I'm saying?
22· · · · · Like she would come in the room while I'm
23· ·changing a patient or putting a patient in the lift
24· ·and she would just always like pick on me about, oh,
25· ·you're not -- I'm just making sure that you're using

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·1· ·the lift because I didn't see you come in the room
·2· ·with it.
·3· · · · · Just -- I don't know.· Like everything she
·4· ·did, like she followed me around the unit like the
·5· ·whole entire shift to just nitpick with me all day
·6· ·long.· Even when I would ask for a break, I would
·7· ·have to wait even though nobody is on break or I
·8· ·would -- she would put me in line last on purpose
·9· ·because she knew I was ready to take my break but
10· ·she'll let everyone else go ahead of me, so, yeah.
11· ·She did a lot of nitpicking with me.· And, as I've
12· ·said, I've never seen her do that to any of the
13· ·stuff there.                                          888-893-3767
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14· · · · · Q.· ·Thank you for that answer.· I have a
15· ·couple of followups on that one.
16· · · · · When you say that she would place you at the
17· ·back of the line, was that kind of like a line of
18· ·the next person to take a break?
19· · · · · A.· ·Yeah, we had to go in order like with
20· ·our breaks and stuff.· So she would -- she'd know
21· ·that I would want a break and then she'll say, oh,
22· ·such and such is going before you.· So it would
23· ·always leave me last in line to go.
24· · · · · Q.· ·And when you say that she would follow
25· ·you around and nitpick, she was looking for

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·1· ·criticisms to make about your work performance?
·2· · · · · A.· ·I believe so.
·3· · · · · Q.· ·And if I'm mischaracterizing, please let
·4· ·me know.· How else would you characterize that?· Do
·5· ·you think that she had a purpose for nitpicking you?
·6· · · · · A.· ·No, she didn't.· I was nice to everybody
·7· ·I ever worked with.· I was always extra nice to
·8· ·everyone.· So I have no idea why she treated me the
·9· ·way that she did.
10· · · · · Q.· ·So you don't necessarily believe that
11· ·she was trying to critique your work performance, do
12· ·you or not?
13· · · · · A.· ·I don't know, but she couldn't because I  888-893-3767
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14· ·knew my work.· I was a good worker.· And she knew
15· ·that.
16· · · · · When the -- when we had the original Tech III
17· ·there, she always gave me compliments that -- how I
18· ·always did a good job and how I caught on to the job
19· ·fast and she would never have to worry about my
20· ·group of people because she knew they were safe and
21· ·accounted for because I was over the group.· And
22· ·that lady had been there for 14-plus years.
23· · · · · Q.· ·Just to make sure I understand, when you
24· ·said, "that lady" with that comment, you're
25· ·referring to Paula; is that correct?

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·1· · · · · A.· ·No, I was talking about the original
·2· ·Tech III, the lady that actually gave me compliments
·3· ·on my work performance.· Her name was Latoya Steele.
·4· · · · · Q.· ·Do you happen to recall how to spell her
·5· ·name?
·6· · · · · A.· ·Latoya?
·7· · · · · Q.· ·Yes.
·8· · · · · A.· ·L-a-t-o-y-a.· Last name Steele.
·9· ·S-t-e-e-l-e.
10· · · · · Q.· ·That's fine.· It just helps to have the
11· ·spelling for the record.· So thank you for that.
12· · · · · A.· ·Mm-hmm.
13· · · · · Q.· ·How would you characterize that her --    888-893-3767
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14· ·how Paula's behavior would make you feel?
15· · · · · A.· ·Can you repeat that?
16· · · · · Q.· ·Yes.
17· · · · · How would you characterize how Paula's
18· ·actions made you feel?
19· · · · · A.· ·Like I wanted to just work on a whole
20· ·different unit from her.· She made me feel like I --
21· ·like I didn't want to work there anymore because,
22· ·you know, when you -- I was only at Fox for 15
23· ·months and to go through all the stuff that I went
24· ·through with it only being a year of me working
25· ·there, everything that I had been through I feel

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·1· ·like I was forcefully getting pushed out the door
·2· ·like -- like everybody was pointing their fingers at
·3· ·me like, oh, yeah, we don't want her to work here.
·4· ·So that's pretty much how I felt.
·5· · · · · I felt like I wasn't wanted.· I felt like I
·6· ·was being forcefully pushed out of the door even
·7· ·though I loved my job and I loved what, you know, I
·8· ·could do for the individuals, you know, things that
·9· ·their families couldn't possibly do for them.· You
10· ·know what I'm saying?
11· · · · · So when you love your job and you feel like
12· ·someone is forcefully trying to push you out of the
13· ·door, eventually you're going to break and it's       888-893-3767
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14· ·going to happen.
15· · · · · Q.· ·So you said earlier that you -- it was
16· ·more than just say Paula that wanted you out.· Do
17· ·you know of any other specific examples of people
18· ·that you believe wanted you out of Fox?
19· · · · · A.· ·I had issues with another lady.                                                                                                                                                           I
20· ·just -- I never elaborated on her because --
21· · · · · Q.· ·Would you please --
22· · · · · A.· ·Sorry.· What did you say?
23· · · · · Q.· ·No, my apologies.· I was just going to
24· ·ask if you would please elaborate now upon that.
25· · · · · A.· ·This was -- I got switched to a

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·1· ·different unit at one particular point working there
·2· ·but I never -- I never wrote this lady up because
·3· ·she acted like that with 50 percent of the people
·4· ·that she worked with.
·5· · · · · Q.· ·Okay.· So who was that?
·6· · · · · A.· ·Her name was Ariel, like the mermaid.
·7· · · · · Q.· ·I'm sorry --
·8· · · · · A.· ·Ariel.
·9· · · · · Q.· ·Thank you.
10· · · · · And when you say that she treated 50 percent
11· ·of the people like that, was it only the black
12· ·employees?· Only the white?· Some combination
13· ·thereof?                                              888-893-3767
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14· · · · · A.· ·I would say a combination.
15· · · · · Q.· ·What would she do to you specifically?
16· · · · · A.· ·She just nagged a lot.· She nagged a
17· ·lot.· She rushed you with your work, like she wanted
18· ·you -- oh, hurry up and feed them, hurry up and feed
19· ·them.· And like I would tell her, you know, no, I'm
20· ·not going to feed someone fast because now I feel
21· ·like I'm forcefully feeding them and we know what's
22· ·going to happen if you're being forcefully fed.
23· ·You're going to choke.
24· · · · · So A lot of -- a lot of things that she said
25· ·to me I felt like they would get me terminated or I

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·1· ·could possibly harm the patient in a way because my
·2· ·leader is telling me to hurry up.· Or the way she
·3· ·spoke with people, she always spoke with you in a
·4· ·rude manner.· She always used curse words in front
·5· ·of the patients, to the patients, in front of me, to
·6· ·me, and she -- like I said, she did that with a
·7· ·combination of people.
·8· · · · · So I -- at that point in time I just didn't
·9· ·feel like getting on anyone else's bad side, so I
10· ·did not ever write her up because I knew what that
11· ·would consist of, which is the reason why my
12· ·witnesses who seen me get pushed, they didn't want
13· ·to come forward because everybody is scared they're   888-893-3767
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14· ·going to lose their safe job where they have all
15· ·these good benefits.· Everybody, "Oh, I don't want
16· ·to have a part of that.· I don't want to have
17· ·nothing to do with it."
18· · · · · Everybody is scared that if you speak up at
19· ·Fox, you're going to be targeted and they're going
20· ·to -- they're eventually going to get you out of the
21· ·door because now to them you're a problem.
22· · · · · Q.· ·And do you believe that Fox viewed you
23· ·as a problem?
24· · · · · A.· ·Yes, I do.
25· · · · · Q.· ·Do you recall approximately what

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·1· ·timeframe you had to work with Ariel?
·2· · · · · A.· ·First shift.
·3· · · · · Q.· ·I'm sorry.· Like months?
·4· · · · · A.· ·Oh.· It wasn't a long time.· I would say
·5· ·maybe between two and four months maybe.
·6· · · · · Q.· ·Was that before or after you had to work
·7· ·with Paula?
·8· · · · · A.· ·Oh, I've worked with Paula since day
·9· ·one, since I -- since the day I started there.
10· · · · · Q.· ·Hold on please while I -- so at this
11· ·point I'd like to go back to the conversation on
12· ·December 17th.
13· · · · · Did you want to quit that day or did you want  888-893-3767
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14· ·to keep working at Fox?
15· · · · · A.· ·I wanted to quit the day that I wrote
16· ·the memo on Veronica Wilkinson.· That's the day that
17· ·I wanted -- I just -- I was distraught over what I
18· ·heard her say and at that point in time I was just
19· ·completely fed up.· I'm like, you know what, I'm
20· ·done with this place.· Obviously God is sending me
21· ·some sign to just leave right now because things are
22· ·just not going good here.
23· · · · · But when the HR lady Shelly told me that I
24· ·couldn't do that, it made me think further into it
25· ·and I was like, well, let me talk to the facility

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·1· ·director because it seemed like everybody below her
·2· ·either wasn't giving me the right information or
·3· ·wasn't telling me the right thing to do.· So I said
·4· ·let me talk to the head person over everything.
·5· · · · · So to answer your question, December 3rd I
·6· ·wanted to quit.
·7· · · · · Q.· ·And you -- it sounds like after
·8· ·December 3rd you had perhaps at least a mild change
·9· ·of position.· Is that fair to say?
10· · · · · A.· ·I don't know.
11· · · · · Q.· ·All right.· Did you have a conversation
12· ·with Sybil about trying to remain employed with Fox?
13· · · · · A.· ·Yes.                                      888-893-3767
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14· · · · · Q.· ·Okay.
15· · · · · A.· ·I was trying to ask her what was the
16· ·right way of doing it.· And the fact that I didn't
17· ·get to put in a separate notice of resignation and I
18· ·figured she was going to point me in the right
19· ·direction but she sounded as if, oh, this girl is
20· ·keeping up a lot of trouble, she's doing this, she's
21· ·doing that, let's just get rid of her.· And that's
22· ·what happened.
23· · · · · Because if you're -- if you're shorthanded at
24· ·work -- we were always short on staff and if you see
25· ·that you're building is short on staff and a person

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·1· ·is saying, hey, no, I didn't want to quit, I was
·2· ·just distraught or, you know, I was very upset that
·3· ·day when I wrote that in a memo, you would think
·4· ·that you would want to keep that person there if
·5· ·your short on staff.
·6· · · · · But, as I said, she didn't want to hear
·7· ·anything I had to say.· She was trying to rush me
·8· ·off the phone and she told me, "Good luck in your
·9· ·future," and dismissed me.
10· · · · · Q.· ·I don't want to put words in your mouth
11· ·but I do want to make sure I understand.
12· · · · · So you did fully intend to quit on
13· ·December 3rd.· Then you were told that wasn't the     888-893-3767
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14· ·proper way to quit.· So then you had a kind of
15· ·change of heart where you decided that maybe you
16· ·didn't want to quit and so you never followed
17· ·through in the proper way and so you thought you
18· ·were going to remain employed.· Is that accurate or
19· ·am I misunderstanding?
20· · · · · A.· ·Yeah, I thought that I was going to
21· ·still have my job because I never put in the actual
22· ·resignation.· So once I got time to calm down from
23· ·what Veronica said to me, in my mind I'm like, okay,
24· ·you know what, let me rethink this because I don't
25· ·have any other income.· So I'm like, well, maybe I

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·1· ·can just stay and see if they can switch me to a
·2· ·whole other unit.· And that didn't happen.
·3· · · · · And that was my whole reason for wanting to
·4· ·speak with Sybil but she dismissed me off the phone
·5· ·immediately.· I couldn't even ask could I even
·6· ·switch units because she didn't want to hear
·7· ·anything I had to say.
·8· · · · · And human resources, Shelly Jackson, she
·9· ·actually lied and told me that she said she did not
10· ·say that I had to put in a separate notice but she
11· ·did tell me that.· And many state -- I know a lot of
12· ·people that are state employees.· You have to write
13· ·a separate resignation form -- letter.· You can't     888-893-3767
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14· ·just jot it in on a memo.· But I'm not a hundred
15· ·percent sure about that but that's what I've been
16· ·told.
17· · · · · Q.· ·Okay.· One final moment.· I think it's
18· ·probably going to conclude my questioning but while
19· ·I wrap this up I just want to make sure.
20· · · · · All right.· So I'm going to ask one -- at
21· ·least one big overarching question and then I may
22· ·have some followups depending on your answer.
23· · · · · Is there any other reason why you believe
24· ·that you were either racially discriminated against
25· ·or retaliated against while you were employed at

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                                                           Candace Vaughn                                                                                                                                       June 15, 2023
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·1· ·Fox?
·2· · · · · A.· ·Besides the three people that I wrote
·3· ·memos on?
·4· · · · · Q.· ·Correct.
·5· · · · · A.· ·I'm not sure.
·6· · · · · · · ·MR. HOGUE:· All right.· Thank you very
·7· ·much for your time.· I'm done asking questions.
·8· ·I'll turn you over to your attorney.
·9· · · · · · · · · · · ·EXAMINATION
10· ·QUESTIONS BY MR. TAYLOR:
11· · · · · Q.· ·All right.· Ms. Vaughn, I do have a few
12· ·questions here because I just want to make sure that
13· ·I have everything clarified and understood.           888-893-3767
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14· · · · · So I want to circle back to three things.
15· ·We're going to start with Paula Hertz.· I want to
16· ·make sure I -- you said that you felt that she
17· ·picked on you?
18· · · · · A.· ·Yes.
19· · · · · Q.· ·Okay.· Did you feel that you were being
20· ·picked on because of your race?
21· · · · · A.· ·Yes.
22· · · · · Q.· ·Okay.· So would you say that Paula
23· ·treated you as an African American differently than
24· ·she treated white employees?
25· · · · · A.· ·Yes.

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·1· · · · · Q.· ·Okay.· And were other African Americans
·2· ·treated differently by Paula?
·3· · · · · A.· ·I can say the women. I --
·4· · · · · Q.· ·So you -- oh, sorry.· No, I didn't mean
·5· ·to cut you off.
·6· · · · · So, again, I know you suffered -- in your
·7· ·opinion you suffered adverse treatment due to your
·8· ·race from Paula?
·9· · · · · A.· ·Yes.
10· · · · · Q.· ·Okay.· And, again, I don't want to
11· ·misstate what you said.· Based on your observations
12· ·you believe other African American women suffered
13· ·the same disparate treatment?                         888-893-3767
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14· · · · · A.· ·Yes.
15· · · · · Q.· ·Okay.· And I want to kind of circle back
16· ·with Veronica here.· Do you believe Veronica treated
17· ·you differently because of your race?
18· · · · · A.· ·Yeah.
19· · · · · Q.· ·Did you see Veronica treat other
20· ·similarly situated white employees differently than
21· ·you?
22· · · · · A.· ·The few that I've seen her talking to,
23· ·yes.
24· · · · · Q.· ·Okay.· And when you made your complaint
25· ·about Veronica, the memo that you saw earlier, would

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·1· ·you say that you were disgusted with your treatment
·2· ·at Fox Center?
·3· · · · · A.· ·Yes --
·4· · · · · Q.· ·Would you say that you --
·5· · · · · A.· ·-- most definitely.
·6· · · · · Q.· ·Would you say that you felt you had no
·7· ·choice but to resign because you would keep being
·8· ·subjected to racial discrimination?
·9· · · · · A.· ·Yes.
10· · · · · Q.· ·Okay.· And I just want to go through the
11· ·timeline.· So you wrote this memo and gave it to
12· ·Shelly Jackson?
13· · · · · A.· ·The one about Veronica?                   888-893-3767
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14· · · · · Q.· ·Yes.
15· · · · · A.· ·No, we give that straight to RSS.
16· · · · · Q.· ·Okay.· So you turned the memo in to RSS
17· ·and then subsequently I believe you said Shelly
18· ·Jackson said this was not a formal resignation?
19· · · · · A.· ·Yes.
20· · · · · Q.· ·Okay.· So at that point on the 3rd you
21· ·thought you were still employed with Fox and would
22· ·continue to be employed with Fox?
23· · · · · A.· ·Yes.
24· · · · · Q.· ·Okay.· And then the next time you
25· ·realized they were getting rid of you, was going to

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·1· ·be the 16th or 17th of December?
·2· · · · · A.· ·The 16th.
·3· · · · · Q.· ·Okay.· And then you got on a call with
·4· ·Sybil Nash?
·5· · · · · A.· ·I called Sybil Nash the morning of the
·6· ·17th after I found out on the 16th.
·7· · · · · Q.· ·Okay.· And at this time you were trying
·8· ·to stay with Fox Center?
·9· · · · · A.· ·Yes.
10· · · · · Q.· ·Okay.· On this call did Sybil Nash talk
11· ·about the incidents with Angela, the incidents with
12· ·Veronica and the incidents with Paula?
13· · · · · A.· ·No.· No, she didn't.                      888-893-3767
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14· · · · · Q.· ·So did --
15· · · · · A.· ·She tried to dismiss me.
16· · · · · Q.· ·Well, let me talk about dismissing you.
17· · · · · Did she bring up that you had made complaints
18· ·previously?
19· · · · · A.· ·I'm trying to remember our conversation.
20· · · · · Yes, I think so.
21· · · · · Q.· ·Okay.· Let me take one more note here.
22· · · · · Okay.· So you don't remember the exact
23· ·content of the conversation with Sybil?
24· · · · · A.· ·I'm sorry.· Can you repeat that?
25· · · · · Q.· ·Sure.· So you don't remember the exact

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·1· ·content of the conversation with Sybil, you just
·2· ·believe that she mentioned that you had made
·3· ·previous complaints?
·4· · · · · A.· ·Yes.
·5· · · · · Q.· ·Okay.· And were these complaints one of
·6· ·the reasons she didn't let you come back to your
·7· ·job?
·8· · · · · A.· ·Yes, I believe --
·9· · · · · Q.· ·Okay.
10· · · · · A.· ·-- I believe that.
11· · · · · Q.· ·Okay.· So you believe that because you
12· ·complained about Veronica, because you complained
13· ·about Paula and because you complained about Angela   888-893-3767
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14· ·you were not allowed to rescind your resignation?
15· · · · · A.· ·Yes.
16· · · · · Q.· ·Okay.· And did Sybil make you feel that
17· ·way on this phone call?
18· · · · · A.· ·Mm-hmm.· Yes, she did.
19· · · · · · · ·MR. TAYLOR:· Okay.· That's all I have.
20· · · · · · · ·MR. HOGUE:· All right.· I have a few
21· ·follow-up based on that.
22· · · · · · · · · · · ·EXAMINATION
23· ·QUESTIONS BY MR. HOGUE:
24· · · · · Q.· ·So when you say that Paula Hertz treated
25· ·certain people differently, you said you were

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·1· ·confident that it was black women, were all black
·2· ·women treated the same as you?
·3· · · · · A.· ·I don't know how to explain Paula.· You
·4· ·just got to see her in action.· But, yeah, I felt
·5· ·like she treated them wrong as well because some of
·6· ·them she just blatantly ignored them because --
·7· ·whatever her reason was for that.· And the rest of
·8· ·them she always had something negative or smart to
·9· ·say.
10· · · · · But as far as following those people around,
11· ·I don't know.· I just know what she did to me
12· ·because it was super obvious on the unit.· And I'm
13· ·pretty sure whoever worked with me, they can vouch    888-893-3767
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14· ·for that if they remember.
15· · · · · Q.· ·So you only recall her following you
16· ·around and you recall her ignoring other people?
17· · · · · A.· ·She would ignore certain people.
18· · · · · Q.· ·But do you recall who she would ignore?
19· · · · · A.· ·No, but I wish it was me.
20· · · · · Q.· ·Okay.· Was she only ignoring black
21· ·women?
22· · · · · A.· ·I can't say that.· I don't know.                                                                                                                                                           I
23· ·don't remember.
24· · · · · Q.· ·Do you recall if she -- sorry -- okay.
25· ·So you said you don't remember?

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·1· · · · · A.· ·No.
·2· · · · · Q.· ·And do you recall her ignoring white
·3· ·women?
·4· · · · · A.· ·No, she didn't.
·5· · · · · Q.· ·Do you recall her ignoring white men?
·6· · · · · A.· ·We rarely had any of those at work, so,
·7· ·no, I don't recall that.
·8· · · · · Q.· ·How about black men?
·9· · · · · A.· ·I don't know.· Our unit mostly consisted
10· ·of women.· The whole building --
11· · · · · Q.· ·Okay.· Then to follow-up on that, we've
12· ·been kind of focusing on two ethnicities: white and
13· ·black.· Would Paula ignore people of other            888-893-3767
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14· ·ethnicities?
15· · · · · A.· ·I don't even remember any other
16· ·people -- like any other ethnicities on my unit.
17· · · · · Q.· ·Did you see Paula yelling at anybody
18· ·else?
19· · · · · A.· ·That's all she did.· That's -- I don't
20· ·know if that was just her personality or -- I mean,
21· ·I don't know what it was to her but, yes, she --
22· ·that's all she did was yell.
23· · · · · I don't know.· I don't know.· I really can't
24· ·tell you what goes on in other people's minds but
25· ·she was not a happy lady at work.· I can say that.

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·1· ·She was very -- she was always negative.· Every time
·2· ·I came into contact with her, every time I was in
·3· ·the same vicinity as her she was always a negative
·4· ·person and always had rude things to say to people
·5· ·all the time.
·6· · · · · Q.· ·Okay.· So she said rude things to other
·7· ·people other than you?
·8· · · · · A.· ·Yeah.
·9· · · · · Q.· ·Did it matter what their race was when
10· ·she said these rude things?
11· · · · · A.· ·I don't know.· I don't -- I don't
12· ·remember like who it was, you know what I'm saying?
13· ·But that's -- like I said, that's -- I'm not sure if  888-893-3767
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14· ·that was just her personality, if she was just one
15· ·of those women who like act like she hate the world
16· ·but, yeah, she -- she was like that with a lot of --
17· ·with a lot of people, like her attitude-wise.
18· · · · · But as far as the nitpicking and the
19· ·following, I've only seen that done to me.· I don't
20· ·know if she did that to other people.· And if she
21· ·did, hopefully they spoke up on it but I'm not sure.
22· · · · · Q.· ·All right.· Thank you.
23· · · · · Do you recall how long the conversation with
24· ·Sybil lasted?
25· · · · · A.· ·I wish I had my phone.

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·1· · · · · No, I don't.· I know that it wasn't long at
·2· ·all.· I don't want to guess but maybe a few minutes.
·3· ·Maybe three minutes tops.· I'm not sure.· But it
·4· ·wasn't long at all because I didn't really get a
·5· ·chance to explain myself, express myself because,
·6· ·like I said, I feel like she just dismissed me
·7· ·because she didn't want to have anything to do with
·8· ·me.· She didn't want to fix the problem.· She wanted
·9· ·to get rid of it, which I wasn't the problem but I
10· ·guess in her eyes that's how she seen it.· Anybody
11· ·that stands up for theirself at that job I can
12· ·guarantee you they don't work there anymore.
13· · · · · · · ·MR. HOGUE:· Okay.· Thank you for that.    888-893-3767
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14· ·And I don't have anything else based on that.
15· · · · · · · ·MR. TAYLOR:· I have nothing further.
16· · · · · Robert, do you want me to explain waiver now?
17· · · · · · · ·MR. HOGUE:· Yes, please.
18· · · · · · · ·MR. TAYLOR:· Okay.· All right.· So, Ms.
19· ·Vaughn, you'll have a chance, if you would like, to
20· ·review the transcript and correct minor errors.
21· ·Now, you can't change your answer to any questions
22· ·but if there is a misspelling or an acronym, you'd
23· ·have the chance to take a look at that and correct
24· ·the record for like those specific purposes.
25· · · · · You can also waive signature, which just

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·1· ·means you don't -- you don't have to read through
·2· ·and check it.· You would just be able to -- we'd
·3· ·basically be able to just move it on.
·4· · · · · So would you like a chance to review or are
·5· ·you okay with waiving signature?
·6· · · · · · · ·THE WITNESS:· I'm okay with --
·7· · · · · · · ·MR. TAYLOR:· With waiving?
·8· · · · · · · ·THE WITNESS:· Yeah.
·9· · · · · · · ·MR. TAYLOR:· Okay.· We'll waive.
10· · · · · · · ·THE REPORTER:· If I could just have
11· ·transcript orders from the attorneys before we go.
12· · · · · · · ·MR. TAYLOR:· I don't think at this time
13· ·we're going to order it.· I don't know if Robert is     888-893-3767
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14· ·going to order it or not.
15· · · · · · · ·MR. HOGUE:· I believe that I will.· And
16· ·maybe Rory can chime in, but I do believe that we
17· ·want a full size PDF.
18· · · · · · · ·MR. CANNON:· Yeah, we do.
19· · · · · · · · · · · · - - - - -
20· · · · · · · ·(Whereupon, the deposition concluded at
21· ·1:46 p.m.)
22
23
24
25

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·1· · · · · · · · ·CERTIFICATE OF REPORTER
·2· · · · · I, Suzanne M. Zes, a Certified Court Reporter
·3· ·(MO) and Registered Professional Reporter, do hereby
·4· ·certify that the witness whose testimony appears in
·5· ·the foregoing deposition was duly sworn by me
·6· ·pursuant to Section 492.010 RSMo; that the testimony
·7· ·of said witness was taken by me to the best of my
·8· ·ability and thereafter reduced to typewriting under
·9· ·my direction; that I am neither counsel for, related
10· ·to, nor employed by any of the parties to the action
11· ·in which this deposition was taken, and further that
12· ·I am not a relative or employee of any attorney or
13· ·counsel employed by the parties thereto, nor            888-893-3767
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15· ·of the action.
16
17
18· · · · · · · · · · ·_______________________________
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20· · · · · · · · · within and for the State of Missouri
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